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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


      MARK GOLDBERG,                      1:17-cv-6024 (NLH) (JS)

                   Plaintiff,             MEMORANDUM OPINION & ORDER

           v.

      DAVID E ORTIZ, et al.,

                   Defendants.


APPEARANCES:

Mark Goldberg
PO Box 163
Bronx, NY 10458

       Plaintiff pro se

Craig Carpenito, United States Attorney
Anne B. Taylor, Assistant United States Attorney
Office of the U.S. Attorney
District Of New Jersey
401 Market Street, 4th Floor
P.O. Box 2098
Camden, NJ 08101

       Attorneys for Defendants

HILLMAN, District Judge

       WHEREAS, Defendants filed a motion for judgment on the

pleadings or, in the alternative, for summary judgment, see ECF

No. 45; and

       WHEREAS, Magistrate Judge Schneider granted Plaintiff’s

motion for the appointment of pro bono counsel, see ECF No. 55;

and
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     WHEREAS, no attorney has yet entered an appearance on

Plaintiff’s behalf; and

     WHEREAS, the interests of justice require providing

assigned counsel an opportunity to become familiar with the

matter and file a response to the motion,

     THEREFORE, IT IS on this        2nd      day of October, 2020

     ORDERED that motion for judgment on the pleadings or, in

the alternative, for summary judgment, ECF No. 45, be, and the

same hereby is, denied without prejudice; and it is further

     ORERED that Defendants may refile their motion upon the

entry of Plaintiff’s counsel’s appearance; and it is finally

     ORDERED that the Clerk shall serve a copy of this Order

upon Plaintiff by regular mail.


                                            s/ Noel L. Hillman
At Camden, New Jersey                      NOEL L. HILLMAN, U.S.D.J.




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